        Case 1:13-mc-01288-RCL Document 141 Filed 01/24/22 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 In re Fannie Mae/Freddie Mac Senior
 Preferred Stock Purchase Agreement
 Class Action Litigations                    Misc. Action No. 13-mc-1288 (RCL)

                                             CLASS ACTION
 THIS DOCUMENT RELATES TO:
 ALL CASES



     j¥ROl'05Efi) ORDER REGARDING FORM, CONTENT, AND METHOD FOR
     PROVIDING NOTICE OF CLASS ACTION PURSUANT TO RULE 23(c)(2)(B)

       This matter comes before the Court on the parties ' Stipulation Regarding Form, Content,

and Method for Providing Notice of C lass Action Pursuant to Rule 23(c )(2)(8) (the "Stipulation").

The Court, having considered the Stipulation, hereby ORDERS as follows:

        l.     Plaintiffs' Counsel are hereby authorized to retain A.8. Data, Ltd. as the

Administrator in connection with providing notice of the class action pursuant to Federal Rule of

Civil Procedure 23(c)(2)(8).

       2.      Defendants shall reasonably cooperate with the Administrator by providing to the

Administrator, at no cost to the Administrator, Plaintiffs, or the C lasses, the current registered

shareholders of Fannie Mae junior preferred shares, Freddie Mac junior preferred shares, and

Freddie Mac common shares, excluding Defendants, by not later than ten ( 10) business days after

the date of the entry of this Order. The Claims Administrator shall also obtain a Security Position

Report from the Depository Trust Company ("DTC") identifying each brokerage firm or other

OTC participant which currently holds Fannie Mae junior preferred stock, Freddie Mac junior

preferred stock, and Freddie Mac common stock by not later than ten ( 10) business days after the

date of the entry of this Order.
        Case 1:13-mc-01288-RCL Document 141 Filed 01/24/22 Page 2 of 3



       3.      The Administrator shall use the above information to identify the beneficial owners

of the shares, and shall begin mailing the Notice to potential Class Members identified through

brokers or other nominees by no later than twenty (20) business days after entry of the

accompanying Order (the "Notice Date").

       4.      The Court approves, as to form and content, the Notice and the Summary Notice

and finds that the proposed Notice and Summary Notice satisfy the requirements of Federal Rule

of Civil Procedure 23(c)(2)(8).

       5.      The Court finds that the proposed method for disseminating the Notice and

Summary Notice in the manner and form set forth in the Stipulation satisfies the requirements of

due process, Federal Rule of Civil Procedure 23(c)(2)(8), is the best notice practicable under the

circumstances, and shall constitute due and sufficient notice to all Class members entitled thereto

who can be identified through reasonable effort.

       6.      The Notice shall provide an address for the purpose of receiving requests for

exclusion from the Classes and requests for additional copies of the Notice. The requests for

exclusion from the Classes shall be made by submitting a written request for exclusion as set forth

in the Notice and shall be received no later than sixty (60) calendar days after the Notice Date (the

"Exclusion Date").

       7.      No later than fifteen (15) business days after the Exclusion Date, Plaintiffs' Counsel

shall file with the Court proof of mailing of the Notice, proof of publication of the Summary

Notice, and an affidavit setting forth a list of all persons and entities who have requested exclusion

from the Classes.




                                                -2-
         Case 1:13-mc-01288-RCL Document 141 Filed 01/24/22 Page 3 of 3



         8.        Except for the costs associated with providing the lists of current shareholders, the

costs of the notice process shall be borne by Plaintiffs, and not by Defendants.




Dated:        ;(1'4 ",   ?-'-f , 2022
                                                         United States District Judge




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